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Robert F. Brennan Es .(£S.B.'1‘3£1324413151

LAW OFFICES OF § BERT F. B NNAN, APC
3150 Montrose Ave.

La Crescenta, Ca. 91214

LSA)S(] 249-5291
_ [818] 249-4329
Emall: rbrennan@brennanlaw.com

Attorney for: Plaintiff Neil Henry Edwards

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

Incllvldual; Hon_ Gayy A_ Feess
Plamuff, sTIPULATION OF DISMISSAL
VS_ WITH PREJUDICE OF DEFENDANT

TRANS UNION LLC, is business

TRANS UNION LLC, AND OF THE
ENTIRE CASE

 

 

entity,_ form unknown; and DOES l- 1 0,
Incluslve,

Defendants.

 

Plaintiff Neil Henry EdWards and Defendant Trans Union LLC (hereinafter
“Trans Union”) have entered into a settlement and pursuant to that settlement
stipulate as follows:

l. Upon approval by the court, Plaintiff Neil Hem'y Edwards stipulates to

dismiss With prejudice all claims against Defendant Trans Union;
///

1
Stipulation of Dismissa| With Prejudice of Defendant Trans Union

 

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base 2:12-cv-08043-GAF-I\/|RW Document 16 Filed 09/16/13 Page 2 of 3 Page |D #:

2. As there are no remaining parties to this case, this stipulation for

 

dismissal is for the entire case;
3. Each party to pay their own incurred fees and costs.

Dated: S(/P'i' ` li? , 2013 Law Ofiices of Robert F. Brennan, APC
l@tw 15 W
Robert F. Brennan, Esq.
Attomey for Plaintiff
Neil Henry Edwards

Dat@d;§@p\'. lip , 2013 MUSICK, PEELER & GARRETT LLP

 

Attorneys for Defendant
Trans Union LLC

')
Stipulation of Dismissal With Prejudice of Defendant Trans Union

 

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BY;M g Z“ELQ B£i)
Donalcl E. Bradley @

 

 

 

 

 

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PROOF OF SERVICE

l am employed in the county of` Los Angeles, State of California. l am over
the age of 18 and not a party to the Within action; my business address is 3150
Montrose Avenue, La Crescenta, CA 91214.

On Se tember 16 2013 I served the f`ore oin document described as
STIPULAT ON OF DI§MISSAL WITH PREiii Uljrl CE OF DEFENDANT
TRANS UNION LLC, AND OF THE ENTIRE CASE

[x] By ECF: On this date, l electronically filed the document(s) With the Clerk of
the Court using CM/ECF system, Which sent electronic notification of such filing to
the following:

Representing 'I`rans Union LLC
Donald E. Bradley, Esq.

l\/Iusicl< Peeler & Garrett LLP
650 Town Center Drive Suite 1200
Costa Mesa, CA 92626-1925

[] I deposited such envelope in the mail at La Crescenta, California. The envelope
was mailed With postage thereon fully prepaid.
[x] (Federal) I declare that I am employed in the office of` a member of the bar of this
court at Whose direction the service Was made.

   
 

Executed on September 16, 2013 t .centa, Calif`ornia.

 

Isabel Grubbs

 

